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C3.ai, Inc. (AI)                                                    Reckstin, Sue Hwang

                                      List of Purchases and Sales

     Transaction                                      Number of      Price Per
        Type               Date                       Shares/Unit   Share/Unit


       Purchase          12/23/2020                       50        $154.1000
       Purchase          12/23/2020                       50        $154.1000
       Purchase          12/23/2020                      100        $166.5000
       Purchase          12/28/2020                       50        $149.8000
       Purchase          12/29/2020                       25        $137.5000
       Purchase          2/10/2021                        50        $159.5500
       Purchase          2/10/2021                        50        $157.3000
       Purchase          2/18/2021                        25        $133.6000
       Purchase           3/2/2021                        50         $99.9900
       Purchase          3/19/2021                        50         $72.6000
       Purchase          3/29/2021                        10         $62.6000
       Purchase          3/29/2021                        10         $62.7000
       Purchase          8/16/2021                        50         $46.3900
       Purchase          9/29/2021                        50         $45.6800
       Purchase          9/29/2021                        50         $45.6000

         Sale             2/9/2021                       (100)      $167.9962
         Sale            12/23/2021                       (50)       $34.1998
